19-01022-mew       Doc 26    Filed 06/17/19    Entered 06/17/19 12:07:02         Main Document
                                              Pg 1 of 2
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                                           June 17, 2019

 VIA ECF

 Hon. Michael E. Wiles, U.S.B.J.
 United States Bankruptcy Court
 Southern District of New York
 One Bowling Green
 New York, NY 10004

                Re:    In re Boaz Bagbag, Case No.: 08 br 12667 (MEW)
                       Bagbag v. Summa Capital Corp., Case No.: 19 ap 01022 (MEW)

 Dear Judge Wiles:

                We represent Mr. Boaz Bagbag, the debtor in the above-captioned matter.

                 Per Mr. Bagbag’s motion filed on ECF this morning, Debtor respectfully requests
 the entry of an order granting Debtor leave to file an Amended Complaint. Notably, Summa
 Capital Corp. has not filed any responsive pleading. Accordingly, Debtor should be permitted to
 file an amended responsive pleading “as a matter of course.” See FRCP 15(a)(1)(B). Indeed,
 would be highly inefficient for the parties to conduct any further proceedings based on a
 complaint that the Debtor intends to amend, and illogical to require Summa to finally file an
 Answer just so that Debtor can file an Amended Complaint as a matter of course.

                 Accordingly, as discussed in our letter dated June 4, 2019 (dkt. #19), we
 respectfully request a brief delay to the discovery schedule and the evidentiary hearing scheduled
 for Wednesday, June 19. There will be no prejudice to Summa as a result of the proposed
 amendment. Indeed, Summa is more likely to be prejudiced by proceeding on the basis of a
 complaint that will then be superseded after it finally answers. Summa waited some eight years
 before trying to collect on its fraudulently procured judgment; another few weeks will not change
 anything.

               Following the filing of the amended complaint, we are optimistic that we can
 agree upon a narrow discovery schedule with Summa’s counsel.

                Ultimately, we are confident that we will demonstrate that the stipulated
 judgment should be voided. Summa, of course, should still retain its opportunity to object to the
 debtor’s discharge.

                Thank you for Your Honor’s consideration in this matter.
19-01022-mew     Doc 26     Filed 06/17/19    Entered 06/17/19 12:07:02      Main Document
                                             Pg 2 of 2
 Hon. Michael E. Wiles
 June 17, 2019
 Page 2 of 2


                                                   Respectfully submitted,

                                                   /s/ Adam Pollock

                                                   Adam Pollock

 cc:
       Wayne M. Greenwald, Esq. (via ECF)
       (counsel for Summa Capital Corp.)

       Greg Bennett, Esq. (via email)
       (counsel for former counsel for debtor)




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